               Case 5:17-cv-05425-BLF Document 33 Filed 05/09/18 Page 1 of 2




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 7
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 8   Catherine Reyes
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10
                                 UNITED STATES DISTRICT COURT
11
                               NORTHERN DISTRICT OF CALIFORNIA
12
                                          SAN JOSE DIVISION
13
14    CATHERINE REYES,                                          )   CASE NO. 5:17-cv-05425-BLF
                Plaintiff,                                      )
15                                                              )
             vs.                                                )   JOINT STIPULATION OF
16                                                              )   DISMISSAL WITH PREJUDICE,
      BMW FINANCIAL SERVICES, and DOES 1                        )   PURSUANT TO FED. R. CIV. P.
17    THROUGH 100 INCLUSIVE;                                    )   41(a); AND [PROPOSED] ORDER
                Defendants.                                     )
18                                                              )
                                                                )
19                                                              )
                                                                )
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21
            Plaintiff Catherine Reyes (“Plaintiff”) and Defendant BMW Financial Services NA, LLC
22
     (“BMW FS”), by and through their respective counsel, hereby stipulate and agree that all matters
23
     between them have been resolved, and that Plaintiff’s complaint, including all causes of action
24
     alleged therein, against BMW FS should be dismissed with prejudice pursuant to Fed. R. Civ. P.
25
     41(a), with each party to bear its own costs and attorneys’ fees.
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27
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     JOINT STIPULATION OF DISMISSAL WITH PREJUDICE, PURSUANT TO FED. R. CIV. P. 41(a); AND
     [PROPOSED] ORDER – 5:17-CV-05425-BLF

                                                  Page 1 of 2
               Case 5:17-cv-05425-BLF Document 33 Filed 05/09/18 Page 2 of 2




                                                 Respectfully submitted,
 1
 2   Date: May 9, 2018                           s/ Elliot W. Gale
                                                 Elliot W. Gale
 3                                               Sagaria Law, P.C.
                                                 Counsel for Plaintiff Catherine Reyes
 4
 5
 6   Date: May 9, 2018                           /s/ Dustin A. Linden
 7                                               Dustin A. Linden
                                                 Strook & Strook & Lavan, LLP
 8                                               Counsel for Defendant BMW Financial Services
                                                 NA, LLC
 9
10                                               Pursuant to Local Rule 5-1(i)(3), I attest that
                                                 concurrence in the filing of this document has been
11                                               obtained from each of the Signatories.
                                                 /s/ Elliot Gale
12
13
14
                                        [PROPOSED] ORDER
15
             PURSUANT TO STIPULATION, IT IS SO ORDERED that Plaintiff Catherine Reyes’s
16
17   complaint, and all causes of action alleged therein, against Defendant BMW Financial Services,

18   NA, LLC is dismissed with prejudice. The parties shall each bear their own costs and attorneys’
19
     fees.
20
21
     Date: ________________________              ____________________________________
22
23                                               BETH L. FREEMAN
                                                 U.S. DISTRICT JUDGE, United States District
24                                               Court, Northern District of California
25
26
27
28

     JOINT STIPULATION OF DISMISSAL WITH PREJUDICE, PURSUANT TO FED. R. CIV. P. 41(a); AND
     [PROPOSED] ORDER – 5:17-CV-05425-BLF

                                                Page 2 of 2
